Case 2:04-cr-20362-BBD Document 30 Filed 04/26/05 Page 1 of 8 Page|D 32

UN|TED STATES DISTRICT COURT F_li_; %
WESTERN DlSTRICT OF TENNESSEE
MEMPHls DlvlsloN 05 :!§§ 26 ..1§; 1 ‘_,.
UN|TED STATES OF AMER|CA assent n. f'-i f ¢io
.v. 2:04cR20362-01-o ' ’

JERRY RICE
April R. Goodel FPD

Defense Attorney
200 Jefferson Ave., Ste. 200
Memphis, TN 38103

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1,2, & 3 of the lndictment on December 01, 2004.

Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

 

Date Count
Tit|e & Section Nature of Offense Offense Number(sj
Conc|uded
21 U.S.C. § 846 Attempt to |V|anufacture 06/30/2004 1
|V|ethamphetamine

21 U.S.C. § 843(3)(6) Possession of Chemicals to 06/30/2004 2
and (d)(2) l\/lanufacture |V|ethamphetamine

21 U.S.C. § 841(c) Possession of Pseudoephedrine with 06/30/2004 3

intent to |V|anufacture
Nlethamphetamine

The defendant is sentenced as provided in the following pages of this judgment The

sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |Vlandatory
Victims Restitution Act of 1996

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

This doct.ment entered en the docket sh et injeorr£§nce
with Rule 55 and/or 32ibi FRC:P on _H _ cg __._._..

Case 2:04-cr-20362-BBD Document 30 Filed 04/26/05 Page 2 of 8 Page|D 33

Case No: 2:04CR20362-01 Defendant Name: Jen'y R|CE Page 2 of 7
Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 07/09/1946 Apri| 15, 2005

Deft’s U.S. Marshal No.: 19864-076

Defendant's |Vlai|ing Address:
2315 Ar|ene Avenue
|\/lemphis, TN 38127

  

'ERN|CE B. DONALD
UN|TED STATES DlSTR|CT JUDGE
/

       

April old , 2005

Case 2:04-cr-20362-BBD Document 30 Filed 04/26/05 Page 3 of 8 Page|D 34

Case No: 2:04CR20362-01 Defendant Name: Jerry RiCE Page 3 of 7
iMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 30 Months on each count to run concurrent|y.

The Court recommends to the Bureau of Prisons:

That the defendant participate in the 500 hour comprehensive drug treatment
program;

That the defendant be designated to FC| |Vii|lington or a facility near |Viemphis, TN.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marshai.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES |VlARSi-iAL
By:

 

Deputy U.S. i\/|arsha|

Case 2:04-cr-20362-BBD Document 30 Filed 04/26/05 Page 4 of 8 Page|D 35

Case No: 2:04CR20362-01 Defendant Name: Jerry R|CE Page 4 of 7

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1 . The defendant shall not leave the judicial district without the permission of the court or probation officer',

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used.
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

Case 2:04-cr-20362-BBD Document 30 Filed 04/26/05 Page 5 of 8 Page|D 36

Case No: 2104CR20362-01 Defendant Name: Jerry R|CE Page 5 of 7

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notiHcations and to confirm the defendant's compliance with such
notification requirement

13. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Crimina| Monetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

The defendant shall participate in substance abuse testing and treatment programs as
directed by the Probation Officer;

The defendant shall maintain lawful employment;

The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythefol|owing total criminal monetary penalties in accordance
With the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date ofjudgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Tota| Assessment Tota| Fine Total Restitution
$300.00 $1,686.10

 

 

The Special Assessment shall be due immediatelyl

F|NE
No fine imposed.

RESTITUT|ON
Restitution in the amount of $1,686.10 is hereby ordered The defendant shall make
restitution to the following victims in the amounts listed beiow.

Case 2:04-cr-20362-BBD Document 30 Filed 04/26/05 Page 6 of 8 Page|D 37

Case No: 2:04CR20362-01 Defendant Name: Jerry R|CE Page 6 of 7
Priority
Total Amount of Order
Name of pal¢ee Amount Restitution Ordered or
of Loss Percentage
Me_nt
DRUG ENFORCEMENT $762.58 $762.58
AGENCY,

Attn: invoice FH34957-1,
Appropriation K1-2001-0504-
00719

600 AR|V|Y NAVY DR|VE
ARL|NGTON, VA 22202

DRUG ENFORCE|V!ENT $923.52 $923.52
AGENCY,

Attn: invoice FH34957-2,

Appropriation K1-2004-0504-

00719

600 Athle NAVY DR|VE

ARL|NGTON, VA 22202

lf the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

Case 2:04-cr-20362-BBD Document 30 Filed 04/26/05 Page 7 of 8 PageiD 38

Case No: 2:O4CR20362-01 Defendant Name: Jerry R|CE Page 7 of 7

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income. interest requirement is waived. The defendant shall
notify the Court and the U.S. Attorney of any material change in economic
circumstances that may affect defendant's ability to pay restitution.

Uniess the court has expressly ordered othen)vise in the special instructions above, ifthis judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment, All criminal monetary pena ities, except those payments made through the
Federai Bureau of Prisons’ inmate Financiai Responsibility Program, are made to the clerk of the
court, unless othenNise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:04-CR-20362 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

